[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]
MEMORANDUM OF DECISION RE: MOTION TO DISMISS
The plaintiff instituted the present action to foreclose a water rent lien. The defendant, Saul Jordan has moved to dismiss the action on the grounds that he was never served with the process.
In an evidentiary hearing, the sheriff who made service testified he went to the address where the moving defendant was listed as living, 21 Snowden Street in Norwalk, Connecticut, met an individual between 19 Snowden Street and 21 Snowden Street who identified himself as Saul Jordan and that the sheriff made service upon that individual. The sheriff testified that the man he served had a beard. The sheriff also testified that the defendant, who was present in the courtroom, appeared to be the gentleman that was served although the sheriff could not be absolutely certain of that fact.
The defendant, Saul Jordan, testified that he owned the buildings at both 19 and 21 Snowden Street and that he had moved from 21 Snowden to 19 Snowden some ten years ago. The defendant also testified that while he wore a beard ten years ago, he has not worn a beard since that time and did not wear a beard at the time service was claim to have been made in the present case. The defendant also testified that he was not served process in this action.
While affidavits had been filed by respective parties prior to the time the evidentiary hearing was scheduled, the court advised all parties that it would rely upon the testimony given at the hearing and not upon affidavits. Upon the evidence before the court, the court cannot conclude that the defendant Saul Jordan was served process in this action. CT Page 4211
Accordingly, the motion to dismiss is granted.
RUSH, J.